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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :     20-CR-152-1 (LJL)
                                                                       :
GEORGE LYONS,                                                          :         ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

       In light of the sentencing scheduled for January 21, 2021 and the continued circumstances
surrounding the COVID-19 pandemic, the Court orders parties to jointly submit to the Court a letter
regarding their positions on whether the proceeding should be held remotely by video conference
according to the CARES Act. Parties are to submit a letter to the Court by Wednesday, January 13,
2021 at 5:00PM. The January 21, 2021 sentencing is cancelled and will be rescheduled to a time
convenient to all parties.


        SO ORDERED.

Dated: January 11, 2021                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                 United States District Judge
